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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


                                           Civil No.
             GFR Media
             Plaintiff                     Notice of removal pursuant to
                                           Section 301 of the LMRA. Re:
                  V.                       Employer’s petition to vacate
                                           arbitration award issued by Jorge
United Steelworkers, AFL-CIO-              E. Rivera Delgado in case no.
       CLC, Local 6135                     A-22-294 filed in the First
          Defendant                        Instance Court of Puerto Rico,
                                           San Juan Part, Case No.
                                           SJ2024CV11690

                                NOTICE OF REMOVAL

TO THE HONORABLE COURT:
     COMES NOW the defendant, United Steelworkers (hereinafter

referred     to   as    “the     Union”        or   “defendant”)         through        the

undersigned counsel to remove this action now pending before the

courts of the Commonwealth of Puerto Rico, First Instance Court,

San   Juan   Part,     Case    No.   SJ2024CV11690,         to    the   United     States

District Court for the District of Puerto Rico. In support to

this request defendant further shows:

       1. Plaintiff,          GFR    Media      (hereinafter        referred       to    as

“plaintiff”, “management” or “the employer”) is an employer as

defined by the Labor Management Relations Act. 29 U.S.C. §152(2).

       2. Defendant,           the   United         Steelworkers,        is    a   labor

organization      representing       employees        in   an    industry      affecting




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commerce. As such, the Union is a labor organization as defined

by the Labor Management Relations Act. 29 U.S.C. §152(5).

        3. At all times relevant to this action plaintiff and the

Union   were    parties     to   a    collective              bargaining       agreement

(hereinafter referred to as the “CBA”) under which a grievance

was filed to demand from the employer additional compensation

pursuant to the mechanization clause of the CBA for two Union

members   terminated        -allegedly-           for    economic        reasons.     The

grievance      was   processed       and       the     employer        questioned     the

arbitrability of the grievance on procedural grounds. The parties

agreed to submit the arbitrability issue to a final and binding

arbitration in the case of GFR Media and United Steelworkers,

AFL-CIO-CLC, Case No. A-22-294.

        4. The parties agreed the issue to be submitted to the

arbitrator. The parties asked the arbitrator to determine whether

the   grievance      was   procedurally           arbitrable       pursuant      to   the

Collective     Bargaining    Agreement           and    the     applicable     law.   The

parties also requested that if the arbitrator found the grievance

not arbitrable, the arbitration case be dismissed and closed with

prejudice.     The   parties     further         requested       the    arbitrator     to

schedule a hearing to resolve the grievance on the merits the

arbitrator found the grievance arbitrable. On 27 November 2024,

after receiving briefs from the parties and a reply brief from


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the plaintiff, the Arbitrator, Jorge E. Rivera Delgado, issued an

award (hereinafter referred to as the “Award”) concluding that

the grievance was arbitrable.

        5. On 26 December 2024, plaintiff filed a Petition for

Review of the Award in the courts of the Commonwealth of Puerto

Rico, specifically, the First Instance Court, San Juan Part, in

the case GFR Media v. United Steel Workers Local 6135, AFL-CIO-

CLC, Case No. SJ2024CV11690. By means of its petition, plaintiff

seeks to vacate the Award and ultimately avoid the resolution of

a   labor    dispute      on   the    merits      arguing        that    the      Arbitrator

committed     three    errors.       Plaintiff       argues      that    the      arbitrator

erred because he (1) found that the grievance was arbitrable on

procedural grounds; (2) adopted the cognitive theory of damages;

and (3) exceeded his powers. Thus, the employer’s petition for

review clearly hinges on the interpretation of the CBA inasmuch

in order for the Court to determine if it can vacate the Award,

it must interpret and analyze the terms of the CBA.

        6. Therefore, removal of this civil action is proper since

this Court has jurisdiction over this matter pursuant to Section

301   of    the   Labor    Management       Relations       Act,        29   U.S.C.    §185.

Section 301 of the LMRA completely preempts state law claims over

“[s]uits for violation of contracts between an employer and a

labor      organization        representing          employees          in   an    industry


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affecting commerce.” 29 U.S.C. § 185(a)[1]. Actions arising under

section 301 are controlled by federal substantive law even though

they are brought in a state court. See Avco Corp. v. Aero Lodge

No. 735, Intern. Ass'n of Machinists and Aerospace Workers, 390

U.S. 557, 560, 88 S. Ct. 1235, 20 L. Ed. 2d 126 (1968). See also

Katir v. Columbia University, 821 F. Supp. 900, 901 (S.D.N.Y.

1993)(“An action to vacate an arbitration award falls within”

Section 301 of the LMRA, 29 U.S.C. § 185) affirmed, 15 F.3d

23(2nd Cir. 1994); Santiago Sánchez v. Gate Engineering, Corp.,

193 F. Supp. 2d 392 (D.P.R. 2002); Espino v. Volkswagen de Puerto

Rico, 289 F. Supp. 979 (D.P.R. 1968). Section 301 of the Labor

Management    Relations   Act    allows        a    “[s]uit        for   violations   of

contracts     between     an    employer           and   a    labor       organization

representing employees in an industry affecting commerce.” 29

U.S.C.   §   185(a).   Furthermore,        a   state         law    claim    implicating

rights and duties under a CBA is preempted under §301 if it

basically is a claim of rights under the CBA. See Asociación de

Empleados v. Unión Internacional, 559 F.3d 44 (1st Cir. 2009)

Fant v. New England Power Service Co., 239 F.3d 8, 14 (1st Cir.

2001). Section 301 preempts state-law claims if they require an

interpretation of a collective bargaining agreement. Lingle v.

Norge Division of Magic Chef, Inc., 486 U.S. 399, 409 (1988).




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         7. The    United    States     Court      of     Appeals    for      the   First

Circuit has interpreted that Section 301 preemption exists if “a

court, in passing upon the claim, would be required to interpret

the collective bargaining agreement. In practice, this test boils

down to whether the asserted state-law claim plausibly can be

said to depend upon the meaning of one or more provisions within

the   collective    bargaining     agreement.”          Filbote      v.   Pennsylvania

Truck Lines, Inc., 131 F.3d 21, 26 (1st Cir. 1997).

         8. Section 301 has “authoritatively been held to grant

jurisdiction to the federal courts to determine whether or not an

arbitrator, acting pursuant to a collective bargaining agreement,

exceeded [her] authority in making an award.” Procter & Gamble

Mfg. Co. v. Independent Oil and Chemical Workers, 386 F.Supp.

213, 215(D.C. Md. 1974). See also Ramos Santiago v. UPS, 2006 WL

538813    (D.P.R.)(Finding      that     section        301    (a)   created    subject

matter    jurisdiction      over   an    action      to    vacate    an    arbitration

award). See Ramos Santiago v. UPS, 24 F.3d 120 (1st Cir. 2008).

         9. A case may be removed to federal court if it presents a

“claim or right arising under the Constitution, treatise or laws

of the United States.” 28 U.S.C. § 1441(b). Furthermore, unless

otherwise expressly provided by Act of Congress, any civil action

brought in a state court over which the district courts of the

United States have original jurisdiction may be removed by the


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defendant to the District Court of the United States. 28 U.S.C. §

1441(a). Therefore, removal of this action is not only proper, it

is    also    timely:    30       days   have       not     elapsed      since       plaintiff’s

petition for review was served on defendant. 28 U.S.C. § 1446(b).

       10.     The pleadings served upon defendant in this case is the

employer’s petition for review with its appendix which includes

the    following      exhibits:          (1)    the       arbitration         award     in    case

A-22-294; (2) the notice of the arbitration award; (3) lay off

letter       addressed       to    Javier      Cruz     Jorge;       (4)   lay       off   letter

addressed to Ángel Rivera Santiago; (5) the Collective Bargaining

Agreement; (6) severance payment stub of Ángel Rivera Santiago;

(7) severance payment stub of Javier Cruz Jorge; (8) email dated

21 September 2021 from Miguel Patiño Lorenzo to María Soledad

López    Latoni;      (9)         employer’s        response         issued     by    Francisco

Brigantty,      Chief        Operations        Officer      and      addressed        to   Anardy

Martínez,        then        president         of     Local       6135     of    the       United

Steelworkers; (10) joint motion submitting stipulations dated 13

May 2024; (11) Employer’s brief to the arbitrator; (12) Union’s

brief to the arbitrator with exhibits; and (13) employer’s reply

brief dated 21 de June 2024. On this same date the Union will

file, through the electronic system SUMAC, a Motion to the First

Instance      Court     of    Puerto      Rico,       San    Juan     Part,      in    Case    No.

SJ2024CV11690, informing that a notice of removal has been filed.


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    WHEREFORE, the Union hereby removes the action captioned GFR

Media v. United Steelworkers AFL-CIO-CLC, Local 6135, Case No.

SJ2024CV11690 from the First Instance Court of Puerto Rico, San

Juan Part to the United States District Court for the District of

Puerto Rico under the authority of 28 U.S.C. § 1441, and pursuant

to the procedures provided in 28 U.S.C. § 1446.

       Respectfully submitted.

       In San Juan, Puerto Rico, this 22nd day of January 2025.

                            Certificate of Service

       I hereby certify that on this same date I sent a true and

exact copy of this document to Fernando A. Baerga Ibáñez, Esq.,

via electronic mail to fbaerga@bqlawoffices.com.


     In San Juan, Puerto Rico, this 22nd day of January 2025.


                                  /s/ Manuel A. Rodríguez Banchs
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